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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

MACKENZIE MENDOZA,                              )   CAUSE NO. 2:22-cv-00381
Individually and OBO                            )
B.M.,                                           )
                                                )
                        Plaintiff,              )
                                                )
          v.                                    )
                                                )
WAL-MART STORES EAST, INC.,                     )
WAL-MART STORES EAST, LP,                       )
WALMART INC. and                                )
WAL-MART REAL ESTATE                            )
BUSINESS TRUST,                                 )
                                                )
                        Defendants.             )



                                      NOTICE OF REMOVAL

          Robert B. Thornburg, counsel for defendant, Wal-Mart Stores East, LP (also incorrectly

sued as Wal-Mart Stores East, Inc., Walmart, Inc. and Wal-Mart Real Estate Business Trust),

states:

          1.     On January 7, 2022, plaintiff filed her Complaint for Damages against defendant

Wal-Mart Stores East, LP (also incorrectly identified as Wal-Mart Stores East, Inc., Walmart,

Inc. and Wal-Mart Real Estate Business Trust), in the Vigo County Superior Court No. 2 of

Indiana, under Cause No. 84D02-2201-CT-000141.

          2.     On August 9, 2022, plaintiff filed her Amended Complaint for Damages against

defendant Wal-Mart Stores East, LP (also incorrectly identified as Wal-Mart Stores East, Inc.,

Walmart, Inc. and Wal-Mart Real Estate Business Trust).

          3.     Wal-Mart Stores East, LP, is a Delaware limited partnership, of which WSE

Management, LLC is the general partner, and WSE Investment, LLC is the limited partner. The


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sole member of both WSE Management, LLC and WSE Investment, LLC is Wal-Mart Stores

East, LLC, an Arkansas limited liability company whose sole member is Walmart, Inc. The

principal place of business for all entities mentioned is Bentonville, Arkansas. Walmart, Inc., a

Delaware corporation, is a publicly traded company on the New York Stock Exchange and

traded under the symbol WMT. The principal place of business for Walmart, Inc. is Bentonville,

Arkansas. No publicly traded entity owns more than 10% of the company. Thus, for purposes of

diversity jurisdiction, Wal-Mart Stores East, LP is a citizen of Delaware and Arkansas.

         4.       Wal-Mart Stores East, Inc. is the former name of an entity that is now a limited

liability company known as Wal-Mart Stores East, LLC. The sole member of Wal-Mart Stores

East, LLC is Walmart, Inc. As noted immediately above, Walmart, Inc. is Delaware corporation.

Its principal place of business is in Bentonville, Arkansas, it has no parent corporation, and no

publicly traded entity owns more than 10% of the company.

         5.       Wal-Mart Real Estate Business Trust is a Delaware statutory trust of which the

sole holder of beneficial shares and sole member for removal purposes is Wal-Mart Property Co.

Wal-Mart Property Co. is a Delaware corporation with its principal place of business in

Arkansas. Accordingly, for the purposes of removal, Wal-Mart Real Estate Business Trust is a

citizen of Delaware and Arkansas.1

         6.       Plaintiff and her minor child are citizens of the State of Indiana.

         7.       The matter in controversy exceeds $75,000.00, exclusive of interests and costs as

Plaintiff alleges B.M. suffered significant personal injury and restriction of his daily activities

due to those injuries. In addition, Plaintiff’s counsel was asked to stipulate that the amount in

1
  The citizenship of a statutory trust is the citizenship of its members, which includes its shareholders. Americold
Realty Tr. V. Conagra Foods, Inc., 136 S. Ct. 1012, 1016 (2016); Bynane v. Bank of New York Mellon for
CWMBS, Inc. Asset-Backed Certificates Series 2006-24, 866 F.3d 351, 358 (5th Cir. 2017); U.S. Bank Tr., N.A. v.
Dupre, 615CV0558LEKTWD, 2016 WL 5107123, at *4 (N.D.N.Y. Sept. 20, 2016) (finding that a Delaware
statutory trust “seems precisely like the type [of trust] considered by the Supreme Court in Americold”).


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controversy did not exceed $75,000 and refused to do so. In addition, this action does not arise

under the Workmen’s Compensation laws of any state; is not brought against a common carrier

or its receivers or trustees; and does not arise under 45 U.S.C. §§ 51-60. Therefore, this cause is

removable to this Court under 28 U.S.C. § 1441(b).

       8.      This Notice of Removal is being filed with this Court within 30 days after receipt

of information, specifically plaintiff’s interrogatory answers and responses to requests for

production of documents, that this case is now applicable for removal to this Court under 28

U.S.C. § 1446(b)(3).

       9.      Copies of all process, pleadings, and orders served upon petitioner in the state

court action are attached hereto. Promptly hereafter, written notice will be given to all adverse

parties and to the Clerk of the Vigo County Superior Court No. 2 of Indiana, that this Petition for

Removal is being filed with this Court.

       WHEREFORE, defendant prays that the entire state court action, under Cause No.

84D02-2201-CT-000141, now pending in the Vigo County Superior Court No. 2 of Indiana, be

removed to this Court for all further proceedings.

                                                Respectfully submitted,

                                                FROST BROWN TODD LLC

                                                By: /s/ Robert B. Thornburg
                                                    Robert B. Thornburg, #19594-02
                                                    Attorneys for Defendant Wal-Mart Stores
                                                    East, LP (also incorrectly sued as Wal-Mart
                                                    Stores East, Inc., Walmart Inc and Wal-
                                                    Mart Real Estate Business Trust)




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                                   CERTIFICATE OF SERVICE

         Service of the foregoing was made electronically this 2nd day of September, 2022, upon

the following:

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                                                 /s/ Robert B. Thornburg

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